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             IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF OKLAHOMA

     1. HAL RUPPERT,                                   )
     2. DEBRA RUPPERT HENDERSON,                       )
     3. WEST COAST DEVELOPMENT, INC.                   )
                                                       )
                                                       )
                                                       )
             Plaintiffs,                               )
                                                       )
v.                                                     ) Case No.: 15-cv-531-R
                                                       )
     1. CERTAIN UNDERWRITERS AT                        )
     LLOYD’S LONDON, subscribing to Policy             )
     No. SMP38412                                      )
                                                       )
             Defendant.                                )

             STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rules of Civil Procedure 41(a)(1)(ii), Plaintiffs, Hal

Ruppert, Debra Ruppert Henderson and West Coast Development, Inc., and

Defendant, Certain Underwriters At Lloyd’s London, by and through their counsel

of record, file this Stipulation of Dismissal with Prejudice. The Plaintiffs hereby

dismiss this case, in its entirety, with prejudice to the refiling thereof.

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